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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   FINJAN, INC.,                                                No. C 17-05659 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                         ORDER RE “STIPULATED”
                                                                         13                                                                PROPOSED PROTECTIVE
                                                                              JUNIPER NETWORKS, INC.,                                      ORDER
                                                                         14                  Defendant.
                                                                         15                                              /

                                                                         16          The Court has reviewed the parties’ joint submission (Dkt. No. 74), which, though
                                                                         17   styled as a “stipulated” proposed protective order, contains competing provisions and attorney
                                                                         18   argument. To the extent that the submission tees up disputes for the Court to resolve, this order
                                                                         19   finds no good reason to deviate from the Interim Model Protective Order under these
                                                                         20   circumstances and accordingly rejects Finjan’s arguments to that effect. The parties’
                                                                         21   “stipulated” proposed protective order will not be accepted unless and until it has been modified
                                                                         22   to comport with this order.
                                                                         23
                                                                         24          IT IS SO ORDERED.
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                                                                         26   Dated: May 10, 2018.
                                                                         27                                                           WILLIAM ALSUP
                                                                                                                                      UNITED STATES DISTRICT JUDGE
                                                                         28
